Case 2:04-Cv-02842-.]PI\/|-tmp Document 16 Filed 06/23/05 Page 1 of 7 Page|D 30

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UNITED sTATEs DISTRICT coURT 05 JUN 3 3 AH H = 5a
FOR THE WESTERN DISTR,ICT OF T'ENNESSEE
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W.t). oF TN, memphis

 

COLUMBIA CASUALTY COMPANY
an Illinois corporation,

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Plaintiff,

vs. Case No.: 04-2842-M1/P

corporation (formerly known as BOND,
JOHNSON & BOND, INC., a Tennessee
coworaaon); TRJNITY MIssIoN oF
cHARLoTTEsVILLE, L.P., a virginia
limited partnership, doing business as
TRINITY MIssIoN HEALTH & REHAB
oF cHARLoTTEvaLLE;
ELDERCARE, INC., a virginia )
corporation TRiNi'rY MISsIoN )
HEALTH & REHAB oF PoRTLAND, )
L.P., a Delaware limited partnership )
(formerly known as sUNNY vis'rA §
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covENAN'r DovE, INC., a Tennessee §
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ASSOCIATES, L.P.), doing business as
SUNNY VISTA CARE CENTER,

Defendants.

 

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The following stipulated agreement by and between plaintiff Columbia Casualty
Company (“Columbia”) and defendants Covenant Dove, Inc. (formerly known as Bond,
Johnson & Bond, Inc.); Trinity Mission of Charlottesville, L.P. (doing business as Trinity
Mission Health & Rehab of Charlottesville); Mission Texas Corporation (formerly known as
Eldercare, Inc.); and Trinity Mission Health & Rehab of Portland, L.P. (formerly known as Sunny
Vista Associates, L.P. and doing business as Sunny Vista Care Center) (defendants are
collectively referred to as “B.TB and the B.TB Facilities”) shall constitute the Judgment of this
Court:

TU STlPULATED JUDGMENT
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with mile 55 and/or 79(3} FHCP cnw

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The Extended Reporting Period of Columbia’s Healthcare Facilities Policy number PLC
2 48912054 for the 10/1/02 to 12/1/03 policy period (the “Colurnbia Policy”) applies only to
the reporting of actual “clairns,” as that term is defined in the Colurnbia Policy, that are made
during the Extended Reporting Period, which was between Decernber l, 2003 and January 30,
2004.

Notice of any matters that are potential claims - i.e., “incidents” as defined in the
Columbia Policy’s Cornmon Conditions - must be given during the 10/1/02 to 12/1/03 period
of the Columbia Policy’s coverage and in accordance with the Columbia Policy’s provisions
for providing notice of potential claims.

The incidents that are alleged in the case captioned Mill¢r___My_\/'is_tw§M
L.P., et al., Case No. 0406-05960 pending in the Circuit Cotut of the State of Oregon,
Multnomah County (the “M Action"), and in the case captioned @hy_\_'._'l`r'igt_y_l\/HMQ
of Charlottesville et al. Case No. CL 03-9392 pending in the Virginia Circuit Court of

 

Albernarle County (the “My Action”) do not involve “claims” that were made during either
the period of the Columbia Policy’s coverage or during the Columbia Policy’s Extended
Reporting Period.

Notice of potential claims involving the M_i_ll£' Action and the m Action was not
provided to Colurnbia during the period of the Colurnbia Policy’s coverage in accordance with
the provisions of the Colurnbia Policy regarding notice of potential claims, but rather was first
provided during the Columbia Policy’s Extended Reporting Period.

Because the Colurnbia Policy’s Extended Reporting Period does not apply to the
reporting of potential claims, Columbia has no obligation to defend or indemnify BJB and the
BJ`B Facilities in connection with the Miller Action and the m Action.

 

Each of the parties to this action shall bear their own fees, costs and expenses

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Case 2:04-Cv-02842-.]PI\/|-tmp Document 16 Fi|did 06/23/05 Page 3 of 7 Page|D 32

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court

    

IT ll SO ST]P`ULATED:
Dmd: LH 3_?. ,2005

 

ve, Ine. (formerly known as Bond,

 

 

 

 

 

 

 

Dated: , 2005 Covenant d
Iehnson & Bond, lne.)
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Title: f
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business gilmore mason H=alar a ama of
Chsrl ‘l| e)
ay= main rem corporaaoa. re owen rem
By: . l
Ti'rle:
Dated: , 2005 Mission Texas Corporation (fonnerly lmown as
Eldemate, l .)
By: '
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Title:
. 3 _ "
. SUDULNHDJUDGMENT

 

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Case 2:04-Cv-02842-.]PI\/|-tmp Document 16 Filed 06/23/05 Page 4 of 7 Page|D 33

This judgment shall become final for all purposes upon entry ofjudgment, and the

parties waive their respective rights to appeal or seek review of this judgment by a higher

COUI|;.

IT IS SO STIPULATED:
Dated: 2005

 

Dated: gay/mt § , 2005

Dated: §g§vm. § ,2005

Dated: §\_/\v\& § ,2005

Columbia Casualty Company
By :

Title:

 

Covena.nt Dove, lnc. (formerly known as Bond,
Johnson & nd, Inc.)

By:
nucsz

Tn`nity Mission of Charlottesville, L.P. (doing
business as Trinity Mission Health & Rehab of
Charlottesville)

 

By: Miss' Texas Corporation, lts General Partner

  
 

By:

Title: §§ M J`M

Mission 'l`exas Corporation (fonnerly known as
Eldercare, Inc.)

By:

Title: @/lLQ/`Lm`t`

STIPU`LATED JUDGMENT

Case 2:04-Cv-02842-.]PI\/|-tmp Document 16 Filed 06/23/05 Page 5 of 7 Page|D 34

Dated: §u_\v\¢, §§ ,2005

APPROVED AS TO FORM.'

Trinity Mission Health & Rehab of Portland, L.P.
(formerly known as Sunny Vista Associates, L.P. and

doing business as Sunny Vista Care Center)
Eldercare, Inc.

By: Mission Texas Corporation, Its General Part:ner
By:

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STIPULATED J'U`DGMENT

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Case 2'04-Cv-02842-.]PI\/|-tmp Document 16 Fl|ed 06/23/05 Page 6 of 7 Page|D 3

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Atrorneysj)r Defendants Covenant Dove, Jnc.
(F.)rmerb) known as Bona{ Johnson & Bond, Inc.),'
Mission Texas Corporation U'ormer{v known as
Eldercare, Inc.),' Trinity Mission ofCharlortesville,
L.P. (doing business as livinin Mssion Health &
Rehab of Charlottesvil!e),' and Trz'nity Mssion Health
& Rehab of Portland, L.P. Gbrmer{y known as Sunrry
Vista Associares, L P. and doing business as Sunny
stta Care Center)

Pursuant to the above agreement of the parties, JUDGMENT IS THEREFORE
GRANTED in favor of plaintiff and against defendants
IT IS SO ORDERED AND ADJUDGED AND DECREED on thibEday of

'_,__¢--¢

\J ‘W~ 2005 mar this aaron is decided end that this ana judgment is re be entered by the

Clerk of this Court.
9 iii QQ
m ,

J Phipps McCalla
nited States District Judge

 

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